       Case 1:18-cv-00215-SAV Document 22        Filed 02/14/22    Page 1 of 14




          UNITED STATES COURT OF INTERNATIONAL TRADE



 AIDA-AMERICA CORPORATION,

       Plaintiff,
                                            Before: Stephen Alexander Vaden,
                                                   Judge
 v.
                                            Court No. 18-00215
 UNITED STATES

       Defendant.



  ORDER GRANTING JOINT MOTION FOR ISSUANCE OF LETTER OF
     REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE,
APPOINTMENT OF COMMISSIONER, AND DIRECTION OF SUBMISSION
            OF HAGUE CONVENTION APPLICATION

      The Court has reviewed the papers submitted in support of Plaintiff AIDA-

America Corporation and the United States’ Joint Motion for Issuance of Letter of

Request for International Judicial Assistance, Appointment of Commissioner, and

Direction of Submission of Hague Convention Application. Finding it proper to issue

a Letter of Request for International Judicial Assistance to authorize a commissioner

in Italy (the “Request for Assistance”) pursuant to 28 U.S.C. § 1781 and Chapter II of

the Hague Convention of 18 March 1970 on the Taking of Evidence Abroad in Civil

or Commercial Matters, T.I.A.S. No. 7444, 23 U.S.T. 2555 (the “Hague Convention”),

the Court ORDERS:

      1. The Motion is GRANTED.

      2. The Request for Assistance attached as Exhibit A is hereby issued as the

Court’s Request for Assistance and is fully incorporated herein.
       Case 1:18-cv-00215-SAV Document 22         Filed 02/14/22   Page 2 of 14

Court No. 18-00215                                                             Page 2


      3. Pursuant to Article 17 of the Hague Convention, Mr. Stefano Azzali, whose

address is Camera Arbitrale di Milano – Via Meravigli 7 – 20123, MILANO (MI),

Italy, is hereby duly appointed, pending the permission of the Corte d’Appello di

Brescia and subject to the terms of the Request for Assistance, as Commissioner to

supervise the deposition testimony of Mr. Carlo Paita, Mr. Lorenzo Gozzoli, and Mr.

Giovanni Reale at a time to be agreed to by the parties; and in performance of his

appointment as Commissioner and duties thereunder, upon completion he shall

inform the Corte d’Appello di Brescia and transmit a copy of the deposition transcript

and exhibits to counsel for the parties.

      4. This signed Order and the signed Request for Assistance will be given to the

parties, who will then file both documents, along with the Italian translations of both

documents, in the Corte d’Appello di Brescia.

      5. The Stipulated Protective Order Regarding Confidential Information in this

action shall apply to these depositions.

      6. Any unresolved disputes between the AIDA-America Corporation and the

United States regarding depositions or other discovery, including assertions of

privilege, shall be determined exclusively by this Court. The Commissioner will

adhere to any such order issued by this Court in the above-captioned action.

      7. All costs of this Hague Convention process, including the fees of the

Commissioner, the proceedings before the Corte d’Appello di Brescia, and any

translation or interpretation costs, will be borne by the parties evenly. Each party
       Case 1:18-cv-00215-SAV Document 22            Filed 02/14/22   Page 3 of 14

Court No. 18-00215                                                               Page 3


will be responsible for the fees and expenses, if any, of its own attorneys relating to

any proceedings arising from this Hague Convention process.

      8. Neither this Order, nor the terms of the Request for Assistance (which are

incorporated into this Order), shall constitute or operate as a waiver of any argument,

position, objection, allegation, or claim or defense of any party in the above-captioned

action, including the attorney-client privilege, the work product doctrine, or any other

privileges, rights, protections, or prohibitions that may apply to that evidence under

the law of Italy, the United States, or the State of New York.

      SO ORDERED.


                                               /s/       Stephen Alexander Vaden
                                                        Judge

Dated: February 14, 2022
       New York, New York
Case 1:18-cv-00215-SAV Document 22   Filed 02/14/22   Page 4 of 14




              Exhibit A
Case 1:18-cv-00215-SAV Document 22   Filed 02/14/22   Page 5 of 14
Case 1:18-cv-00215-SAV Document 22   Filed 02/14/22   Page 6 of 14
Case 1:18-cv-00215-SAV Document 22   Filed 02/14/22   Page 7 of 14
Case 1:18-cv-00215-SAV Document 22   Filed 02/14/22   Page 8 of 14
Case 1:18-cv-00215-SAV Document 22   Filed 02/14/22   Page 9 of 14
Case 1:18-cv-00215-SAV Document 22   Filed 02/14/22   Page 10 of 14
Case 1:18-cv-00215-SAV Document 22   Filed 02/14/22   Page 11 of 14
Case 1:18-cv-00215-SAV Document 22   Filed 02/14/22   Page 12 of 14
Case 1:18-cv-00215-SAV Document 22   Filed 02/14/22   Page 13 of 14




                Exhibit 1
Case 1:18-cv-00215-SAV Document 22                  Filed 02/14/22       Page 14 of 14



                            EXHIBIT 1 TO LETTER OF REQUEST

                      LISTED TOPICS FOR PROPOSED DEPOSITIONS

1. The allegations raised by AIDA America’s complaint in the above-captioned action;

2. AIDA America’s responses to Defendant’s Interrogatories And Requests For Production Of
   Documents And Things Directed To Plaintiff; including but not limited to whether such
   documents produced are authentic copies of original and whether they were prepared in
   the ordinary scope of the business of AIDA America and whether it a regular part of AIDA
   America’s business to keep and maintain documents of this type.

3. The parts and/or components comprising each of the two entries at issue in the
   consolidated cases proceeding under Court No. 18-00215.

4. The parts and/or components comprising each of the 36 entries comprising the Tandem and
   Rovetta Presses which AIDA America was importing for its automobile manufacturing
   customer in Fremont, California for use in an automobile construction plant.

5. What is the price actually paid or payable for the merchandise comprising the two entries
   issue, when sold for exportation to the United States, plus, to the extent not already
   included in that price, a) the packing costs incurred by AIDA America, b) any selling
   commission incurred by AIDA America, c) the value apportioned as appropriate, of any
   assist, and d) any royalty or license fee that AIDA America is required to pay as a condition
   of sale,

6. Whether any portion of the payment for the merchandise comprising the two entries at
   issue should be appropriately excluded from transaction value because they comprise one
   of the following: a) the cost, charges, or expenses incurred for transportation, insurance,
   and related services incident to the international shipment of the merchandise from Italy to
   the place of importation in the United States, b) if identified separately, the reasonable cost
   incurred for constructing or erecting, assembling, maintaining or providing technical
   assistance with respect to the merchandise after importation into the United States, and c)
   any Customs duties or other Federal taxes.

7. A detailed explanation of manner and basis by which AIDA America paid AIDA Spa (Italy) for
   the entire project (two presses covering thirty-six entries) which has been described in AIDA
   America’s Initial Disclosures as intermittent progress payments.

8. A detailed description of the alleged overpayment error involved in the two entries at issue,
   which forms the basis of AIDA America’s claim as well as how the error was caused.
